              Case 23-02744-CL7                   Filed 09/12/23           Entered 09/12/23 16:27:52                  Doc 1       Pg. 1 of 50


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Jones & Associates Consulting, Inc.

2.   All other names debtor
     used in the last 8 years
                                   Jones & Associates
     Include any assumed           Jones
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  16921 Via de Santa Fe, #5005
                                  Rancho Santa Fe, CA 92067
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  San Diego                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.jonesinclusive.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Jones & Associates Consulting, Inc.                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5416

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Jones & Associates Consulting, Inc.                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Jones & Associates Consulting, Inc.                                         Case number (if known)
         Name

                              $50,001 - $100,000                         $10,000,001 - $50 million               $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million              $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million             More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 4
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Debtor    Jones & Associates Consulting, Inc.                                                      Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 12, 2023
                                                  MM / DD / YYYY


                             X /s/ Steven Jones                                                           Steven Jones
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X /s/ Gustavo E. Bravo                                                        Date September 12, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Gustavo E. Bravo
                                 Printed name

                                 Bravo Law APC
                                 Firm name

                                 2398 San Diego Avenue
                                 San Diego, CA 92110
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (619) 600-1394                Email address      gbravo@bravolawapc.com

                                 218752 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Jones & Associates Consulting, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 12, 2023              X /s/ Steven Jones
                                                           Signature of individual signing on behalf of debtor

                                                            Steven Jones
                                                            Printed name

                                                            Chief Executive Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
             Case 23-02744-CL7                                    Filed 09/12/23                        Entered 09/12/23 16:27:52                                           Doc 1       Pg. 7 of 50

 Fill in this information to identify the case:

 Debtor name            Jones & Associates Consulting, Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                        Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        3,500,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $            62,857.80

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        3,562,857.80


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $        3,944,963.27


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $           357,827.30

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        1,086,413.73


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $           5,389,204.30




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         Jones & Associates Consulting, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Chase Bank                                        Checking                              7225                                    $10,282.00




          3.2.     U.S. Bank                                         Checking                              4960                                             $9.51



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                     $10,291.51
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit


          7.1.     Rental deposit for 645 Front Street, #2201, San Diego, CA 92101                                                                 $16,000.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       Jones & Associates Consulting, Inc.                                            Case number (If known)
             Name

          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                          $16,000.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                     34,166.29      -                                   0.00 = ....                  $34,166.29
                                       face amount                            doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                          $34,166.29
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used    Current value of
                                                                           debtor's interest         for current value        debtor's interest
                                                                           (Where available)

39.       Office furniture

40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Office Computers - Five laptops                                            Unknown                                             $1,500.00




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor        Jones & Associates Consulting, Inc.                                            Case number (If known)
              Name

42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                               $1,500.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of            Nature and              Net book value of           Valuation method used   Current value of
           property                               extent of               debtor's interest           for current value       debtor's interest
           Include street address or other        debtor's interest       (Where available)
           description such as Assessor           in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                    3 Netherfield Way,
                    Spring, TX 77382              Fee simple                          Unknown         Broker's Opinion                $3,500,000.00




56.        Total of Part 9.                                                                                                         $3,500,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                             page 3
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Debtor        Jones & Associates Consulting, Inc.                                          Case number (If known)
              Name

           General description                                          Net book value of          Valuation method used    Current value of
                                                                        debtor's interest          for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           www.jonesinclusive.com                                                  $4,500.00       N/A                                   $200.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations
           Customer List                                                           Unknown         N/A                                   $500.00



64.        Other intangibles, or intellectual property

65.        Goodwill
           Goodwill                                                                Unknown         N/A                                   $200.00



66.        Total of Part 10.                                                                                                           $900.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor          Jones & Associates Consulting, Inc.                                                                 Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                            $10,291.51

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $16,000.00

82. Accounts receivable. Copy line 12, Part 3.                                                                     $34,166.29

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $1,500.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                      $3,500,000.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                       $900.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $62,857.80          + 91b.            $3,500,000.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,562,857.80




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 5
          Case 23-02744-CL7                        Filed 09/12/23              Entered 09/12/23 16:27:52                    Doc 1          Pg. 13 of 50

Fill in this information to identify the case:

Debtor name         Jones & Associates Consulting, Inc.

United States Bankruptcy Court for the:           SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Capytal.com                                  Describe debtor's property that is subject to a lien                   $17,076.00                $54,632.80
      Creditor's Name                              All Personal Property
      90 Broad Street, Suite 903
      New York, NY 10004
      Creditor's mailing address                   Describe the lien
                                                   UCC Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      1/3/23                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      N/A
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Everest Business Funding                     Describe debtor's property that is subject to a lien                   $27,708.10                $54,632.80
      Creditor's Name                              All Personal Property
      102 West 38th Street
      6th Floor
      New York, NY 10018
      Creditor's mailing address                   Describe the lien
                                                   UCC Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
      12/25/22                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 5
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Debtor      Jones & Associates Consulting, Inc.                                                   Case number (if known)
            Name

          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.3   FC Marketplace LLC                          Describe debtor's property that is subject to a lien                     $321,038.26         $54,632.80
      Creditor's Name                             All Personal Property
      707 17th Street
      Suite 2200
      Denver, CO 80202
      Creditor's mailing address                  Describe the lien
                                                  UCC Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/31/22                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      6421
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.4   First Service Credit Union                  Describe debtor's property that is subject to a lien                 $3,017,395.42         $3,500,000.00
      Creditor's Name                             3 Netherfield Way, Spring, TX 77382
      16430 Park Ten Place
      Houston, TX 77084
      Creditor's mailing address                  Describe the lien
                                                  Deed of Trust
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/21/21                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1024
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      1. First Service Credit
      Union
      2. First Service Credit
      Union

2.5   First Service Credit Union                  Describe debtor's property that is subject to a lien                     $200,000.00       $3,500,000.00
      Creditor's Name                             3 Netherfield Way, Spring, TX 77382
      16430 Park Ten Place
      Houston, TX 77084
      Creditor's mailing address                  Describe the lien


Official Form 206D                    Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 5
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Debtor      Jones & Associates Consulting, Inc.                                                   Case number (if known)
            Name

                                                  Deed of Trust
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      6/14/22                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      1003
      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.
      Specified on line 2.4

2.6   Globelend Capital                           Describe debtor's property that is subject to a lien                     $130,848.80         $54,632.80
      Creditor's Name                             All Personal Property
      1111 Park Center
      Boulevard
      # 425
      Miami, FL 33169
      Creditor's mailing address                  Describe the lien
                                                  UCC Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      7/29/22                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply
          No                                         Contingent
          Yes. Specify each creditor,                Unliquidated
      including this creditor and its relative       Disputed
      priority.



2.7   LG Funding LLC                              Describe debtor's property that is subject to a lien                      $63,624.05         $54,632.80
      Creditor's Name                             All Personal Property
      1218 Union Street
      Brooklyn, NY 11225
      Creditor's mailing address                  Describe the lien
                                                  UCC Financing Statement
                                                  Is the creditor an insider or related party?
                                                     No
      Creditor's email address, if known              Yes
                                                  Is anyone else liable on this claim?
      Date debt was incurred                         No
      10/3/22                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an               As of the petition filing date, the claim is:
      interest in the same property?              Check all that apply




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Debtor       Jones & Associates Consulting, Inc.                                                   Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.8    OnDeck Funding                              Describe debtor's property that is subject to a lien                      $34,285.76              $54,632.80
       Creditor's Name                             All Personal Property
       4700 West Daybreak
       Parkway
       Suite 200
       South Jordan, UT 84009
       Creditor's mailing address                  Describe the lien
                                                   UCC Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       5/27/22                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.9    U.S. SBA                                    Describe debtor's property that is subject to a lien                     $132,986.88              $54,632.80
       Creditor's Name                             All Personal Property
       312 North Spring Street
       5th Floor
       Los Angeles, CA 90012
       Creditor's mailing address                  Describe the lien
                                                   UCC Financing Statement
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       6/1/20                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



                                                                                                                            $3,944,963.2
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       7

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


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Debtor    Jones & Associates Consulting, Inc.                               Case number (if known)
          Name

      Name and address                                                              On which line in Part 1 did         Last 4 digits of
                                                                                    you enter the related creditor?     account number for
                                                                                                                        this entity




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Fill in this information to identify the case:

Debtor name         Jones & Associates Consulting, Inc.

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                               Check if this is an
                                                                                                                                               amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                              12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                 Total claim           Priority amount

2.1       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $12,761.38          $12,761.38
          Brian Joseph                                        Check all that apply.
          1332 Linda Rosa Avenue                                 Contingent
          Los Angeles, CA 90041                                  Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          3/17/23                                             Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes


2.2       Priority creditor's name and mailing address        As of the petition filing date, the claim is:                           $32,230.76          $15,150.00
          Chanelle McNutt                                     Check all that apply.
          2131 West 109th Place                                  Contingent
          Los Angeles, CA 90047                                  Unliquidated
                                                                 Disputed

          Date or dates debt was incurred                     Basis for the claim:
          3/17/23                                             Wages
          Last 4 digits of account number                     Is the claim subject to offset?
          Specify Code subsection of PRIORITY                    No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                 Yes




Official Form 206E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 7
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Debtor      Jones & Associates Consulting, Inc.                                                      Case number (if known)
            Name

2.3      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $4,392.00   $0.00
         Ellecia Purvis                                     Check all that apply.
         1404 Ramsgate Drive                                   Contingent
         Corona, CA 92881                                      Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         2/28/23                                            1099 External Consultant
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.4      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                        $134,400.00      $134,400.00
         Internal Revenue Service                           Check all that apply.
         P.O. Box 7346                                         Contingent
         Philadelphia, PA 19101                                Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         3/17/2023 to 8/31/23                               Payroll Taxes
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (8)
                                                               Yes


2.5      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $12,045.67      $12,045.67
         Kevin Blake                                        Check all that apply.
         605 16th Street                                       Contingent
         Watervliet, NY 12189                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         3/17/23                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.6      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $30,279.82      $15,150.00
         Lida Rafia                                         Check all that apply.
         3305 29th St.                                         Contingent
         San Diego, CA 92104                                   Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         3/17/2023                                          Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




Official Form 206 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 7
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Debtor      Jones & Associates Consulting, Inc.                                                      Case number (if known)
            Name

2.7      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                             $1,620.00   $1,620.00
         Lisa Blake                                         Check all that apply.
         605 16th Street                                       Contingent
         Watervliet, NY 12189                                  Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         3/17/23                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.8      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $37,403.87      $15,150.00
         Liz Fernandez                                      Check all that apply.
         4901 Henry Hudson Parkway                             Contingent
         Bronx, NY 10471                                       Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         3/17/23                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.9      Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $30,279.82      $15,150.00
         Lori Nelson                                        Check all that apply.
         591 Eaton Drive                                       Contingent
         Pasadena, CA 91107                                    Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         3/17/2023                                          Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes


2.10     Priority creditor's name and mailing address       As of the petition filing date, the claim is:                         $19,686.36      $15,150.00
         Minjung Pai                                        Check all that apply.
         1534 1/2 S. Spaulding Avenue                          Contingent
         Los Angeles, CA 90019                                 Unliquidated
                                                               Disputed

         Date or dates debt was incurred                    Basis for the claim:
         3/17/23                                            Wages
         Last 4 digits of account number                    Is the claim subject to offset?
         Specify Code subsection of PRIORITY                   No
         unsecured claim: 11 U.S.C. § 507(a) (4)
                                                               Yes




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Debtor        Jones & Associates Consulting, Inc.                                                        Case number (if known)
              Name

2.11       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                  $42,727.62    $15,150.00
           Skyler Jackson                                       Check all that apply.
           117 4th Place, Apt. 1B                                  Contingent
           Brooklyn, NY 11231                                      Unliquidated
                                                                   Disputed

           Date or dates debt was incurred                      Basis for the claim:
           1/1/23 to 3/30/23                                    1099 external consultant
           Last 4 digits of account number                      Is the claim subject to offset?
           Specify Code subsection of PRIORITY                     No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                   Yes



Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

3.1       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.            $129,500.25
          1199 Walnut LLCV                                                        Contingent
          1199 East Walnut St.                                                    Unliquidated
          Pasadena, CA 91106
                                                                                  Disputed
          Date(s) debt was
          incurred February 2023 to July 2023                                 Basis for the claim: Rent for commercial space at 1199 East Walnut
          Last 4 digits of account number                                     Street, Pasadena, CA 91106.
                                                                              Is the claim subject to offset?     No       Yes

3.2       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.            $134,400.00
          645 Front St 2201 LLC
          5580 La Jolla Boulevard                                                 Contingent
          Suite 392                                                               Unliquidated
          La Jolla, CA 92037                                                      Disputed
          Date(s) debt was
                                                                              Basis for the claim:
          incurred December 2022 to July 2023
          Last 4 digits of account number                                     Is the claim subject to offset?     No       Yes


3.3       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $25,159.15
          ADP, Inc.                                                               Contingent
          1 ADP Boulevard                                                         Unliquidated
          Roseland, NJ 07068                                                      Disputed
          Date(s) debt was incurred 6/15/23
                                                                              Basis for the claim:
          Last 4 digits of account number
                                                                              Is the claim subject to offset?     No       Yes

3.4       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.              $73,109.49
          American Express                                                        Contingent
          200 Vesey Street                                                        Unliquidated
          New York, NY 10285                                                      Disputed
          Date(s) debt was
                                                                              Basis for the claim: Credit card purchases
          incurred October 2019 to March 2023
          Last 4 digits of account number 1001                                Is the claim subject to offset?     No       Yes

3.5       Nonpriority creditor's name and mailing address                     As of the petition filing date, the claim is: Check all that apply.            $146,232.43
          BayFirst National Bank                                                  Contingent
          700 Central Avenue                                                      Unliquidated
          Saint Petersburg, FL 33701                                              Disputed
          Date(s) debt was incurred 7/29/22
                                                                              Basis for the claim: Business Loan
          Last 4 digits of account number 9100
                                                                              Is the claim subject to offset?     No       Yes



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Debtor      Jones & Associates Consulting, Inc.                                             Case number (if known)
            Name

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $7,184.22
         Bridging Voices                                              Contingent
         4440 Frost Drive                                             Unliquidated
         Oxnard, CA 93033                                             Disputed
         Date(s) debt was incurred 1/1/23 to 2/28/23
                                                                   Basis for the claim: Language Interpretation Services
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $40,000.00
         California Hospital Assoc.                                   Contingent
         1215 K Street #700                                           Unliquidated
         Sacramento, CA 95814                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Prepayment services not completed.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.              $690.95
         Capital One                                                  Contingent
         1680 Capital One Drive                                       Unliquidated
         Mc Lean, VA 22102                                            Disputed
         Date(s) debt was
                                                                   Basis for the claim: Credit card purchases
         incurred March 2022 to February 2023
         Last 4 digits of account number 4433                      Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $2,995.00
         Cynthia Raimo                                                Contingent
         P.O. Box 337                                                 Unliquidated
         Lemon Grove, CA 91946                                        Disputed
         Date(s) debt was incurred 3/2/23
                                                                   Basis for the claim: Outside Accountant - Tax Preparer
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $5,541.57
         Entergy Texas, Inc.                                          Contingent
         P.O. Box 8104                                                Unliquidated
         Baton Rouge, LA 70891                                        Disputed
         Date(s) debt was incurred 9/6/23
                                                                   Basis for the claim: Utilities
         Last 4 digits of account number 1865
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $9,106.05
         EQI Mindset                                                  Contingent
         2922 Rangour Court                                           Unliquidated
         Escondido, CA 92027                                          Disputed
         Date(s) debt was incurred 2/28/23
                                                                   Basis for the claim: 1099 External Consultant
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $53,520.08
         First Service Credit Union                                   Contingent
         16430 Park Ten Place                                         Unliquidated
         Houston, TX 77084                                            Disputed
         Date(s) debt was
                                                                   Basis for the claim: Credit card purchases
         incurred February 2022 to June 2023
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




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Debtor      Jones & Associates Consulting, Inc.                                             Case number (if known)
            Name

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $8,625.00
         Food Forward                                                 Contingent
         7412 Fulton Avenue #3                                        Unliquidated
         North Hollywood, CA 91605                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Prepayment services not completed.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $12,230.66
         Payroll Solutions Internat'l.                                Contingent
         557 Massey Road                                              Unliquidated
         Guelph, Ontario, Can. N1K 1B3                                Disputed
         Date(s) debt was incurred 5/25/23
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $10,000.00
         Ronald McDonald House Charity                                Contingent
         2929 Children's Way                                          Unliquidated
         San Diego, CA 92123                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Prepayment services not completed.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $24,000.00
         Shondaland                                                   Contingent
         1905 N. Wilcox Avenue                                        Unliquidated
         #307                                                         Disputed
         Los Angeles, CA 90068
                                                                   Basis for the claim: Prepayment services not completed.
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $18,200.00
         Steven Jones                                                 Contingent
         16921 Via De Santa Fe #5005                                  Unliquidated
         Rancho Santa Fe, CA 92067                                    Disputed
         Date(s) debt was incurred 2/6/23 to 3/6/26
                                                                   Basis for the claim: Loan to Company.
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $3,000.00
         Tamara Craver                                                Contingent
         1281 9th Avenue #1914                                        Unliquidated
         San Diego, CA 92101                                          Disputed
         Date(s) debt was incurred 7/23/23
                                                                   Basis for the claim: 1099 External Consultant
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.            $4,425.00
         The Antorge Group                                            Contingent
         13223 Black Mountain Road                                    Unliquidated
         #1168                                                        Disputed
         San Diego, CA 92129
                                                                   Basis for the claim: 1099 External Consultant
         Date(s) debt was incurred 3/19/23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 6 of 7
          Case 23-02744-CL7                      Filed 09/12/23              Entered 09/12/23 16:27:52                             Doc 1         Pg. 24 of 50

Debtor       Jones & Associates Consulting, Inc.                                                    Case number (if known)
             Name

3.20      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.             $372,000.00
          The J. Paul Getty Trust                                             Contingent
          1200 Getty Center Drive                                             Unliquidated
          Suite 400                                                           Disputed
          Los Angeles, CA 90049
                                                                           Basis for the claim: Prepayment services not completed.
          Date(s) debt was incurred 4/28/23
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.21      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,993.88
          U.S. Bank                                                           Contingent
          800 Nicollet Mall                                                   Unliquidated
          Minneapolis, MN 55402                                               Disputed
          Date(s) debt was
                                                                           Basis for the claim: Credit card purchases
          incurred February 2020 to June 2023
          Last 4 digits of account number 0389                             Is the claim subject to offset?       No     Yes

3.22      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $500.00
          Wells Fargo Bank                                                    Contingent
          420 Montgomery Street                                               Unliquidated
          94101                                                               Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Credit card purchases
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                      357,827.30
5b. Total claims from Part 2                                                                           5b.   +    $                    1,086,413.73

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        1,444,241.03




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 7 of 7
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Fill in this information to identify the case:

Debtor name       Jones & Associates Consulting, Inc.

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            DEI Consulting and
           lease is for and the nature of        Training Services
           the debtor's interest                 ($35,000 to be
                                                 performed and paid).
               State the term remaining          10/30/23
                                                                                    Carnegie Science Center
           List the contract number of any                                          1 Alleghany Avenue
                 government contract                                                Pittsburgh, PA 15212


2.2.       State what the contract or            DEI Consulting and
           lease is for and the nature of        Training Services
           the debtor's interest                 ($153,750 to be
                                                 performed and paid).
               State the term remaining          3/8/24
                                                                                    Honda Dev. & Mftg. of America
           List the contract number of any                                          24000 Honda Parkway
                 government contract                                                Marysville, OH 43040


2.3.       State what the contract or            Executive Coaching
           lease is for and the nature of        Services ($54,000 to be
           the debtor's interest                 performed and paid).

               State the term remaining          N/A
                                                                                    Lakeshore Learning
           List the contract number of any                                          2695 East Dominguez St.
                 government contract                                                Carson, CA 90895


2.4.       State what the contract or            DEI Consulting and
           lease is for and the nature of        Training Services
           the debtor's interest                 ($29,812.50 to be
                                                 performed and paid).
               State the term remaining          N/A                                Lewis Brisbois
                                                                                    650 E. Hospitality Lane
           List the contract number of any                                          Ste. 600
                 government contract                                                San Bernardino, CA 92408




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Jones & Associates Consulting, Inc.

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Steven Jones                16921 Via De Santa Fe #5005                               U.S. SBA                           D   2.9
                                      Rancho Santa Fe, CA 92067                                                                    E/F
                                                                                                                                   G




   2.2    Steven Jones                16921 Via De Santa Fe #5005                               First Service Credit               D   2.4
                                      Rancho Santa Fe, CA 92067                                 Union                              E/F
                                                                                                                                   G




   2.3    Steven Jones                16921 Via De Santa Fe #5005                               First Service Credit               D   2.5
                                      Rancho Santa Fe, CA 92067                                 Union                              E/F
                                                                                                                                   G




   2.4    Steven Jones                16921 Via De Santa Fe #5005                               Capytal.com                        D   2.1
                                      Rancho Santa Fe, CA 92067                                                                    E/F
                                                                                                                                   G




   2.5    Steven Jones                16921 Via De Santa Fe #5005                               FC Marketplace LLC                 D   2.3
                                      Rancho Santa Fe, CA 92067                                                                    E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    Jones & Associates Consulting, Inc.                                     Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Steven Jones             16921 Via De Santa Fe #5005                         LG Funding LLC                     D   2.7
                                   Rancho Santa Fe, CA 92067                                                              E/F
                                                                                                                          G




  2.7     Steven Jones             16921 Via De Santa Fe #5005                         Everest Business                   D   2.2
                                   Rancho Santa Fe, CA 92067                           Funding                            E/F
                                                                                                                          G




  2.8     Steven Jones             16921 Via De Santa Fe #5005                         OnDeck Funding                     D   2.8
                                   Rancho Santa Fe, CA 92067                                                              E/F
                                                                                                                          G




  2.9     Steven Jones             16921 Via De Santa Fe #5005                         Globelend Capital                  D   2.6
                                   Rancho Santa Fe, CA 92067                                                              E/F
                                                                                                                          G




  2.10    Steven Jones             16921 Via De Santa Fe #5005                         The J. Paul Getty                  D
                                   Rancho Santa Fe, CA 92067                           Trust                              E/F   3.20
                                                                                                                          G




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Jones & Associates Consulting, Inc.

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                             $1,504,949.00
      From 10/01/2023 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $3,569,792.00
      From 10/01/2022 to Filing Date
                                                                                          Other


      For year before that:                                                               Operating a business                             $3,853,854.00
      From 10/01/2021 to 9/30/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Jones & Associates Consulting, Inc.                                           Case number (if known)



      Creditor's Name and Address                             Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                  Check all that apply
      3.1.
              Capytal.com                                     6/2/23 ($870);                   $11,960.00           Secured debt
              90 Broad Street, Suite 903                      6/5/23 ($870);                                        Unsecured loan repayments
              New York, NY 10004                              6/9/23 ($870);
                                                                                                                    Suppliers or vendors
                                                              6/12/23
                                                                                                                    Services
                                                              ($870);
                                                              6/13/23                                               Other
                                                              ($870);
                                                              6/16/23
                                                              ($870);
                                                              6/20/23
                                                              ($870);
                                                              6/20/23
                                                              ($870);
                                                              7/17/23
                                                              ($5,000)
      3.2.
              Kaleidescope Consulting Group                   6/12/23                          $23,400.00           Secured debt
              4859 West Slauson #327                          ($8,400);                                             Unsecured loan repayments
              Los Angeles, CA 90056                           7/14/23                                               Suppliers or vendors
                                                              ($2,900);
                                                                                                                    Services
                                                              7/14/23
                                                              ($2,100);                                             Other
                                                              7/15/23
                                                              ($2,500);
                                                              8/24/23
                                                              ($2,000);
                                                              8/24/23
                                                              ($2,100);
                                                              8/24/23
                                                              ($900);
                                                              8/25/23
                                                              ($300);
                                                              8/25/23
                                                              ($1,500);
                                                              8/25/23
                                                              ($700)
      3.3.
              Tamara Craver                                   7/15/23                          $10,200.00           Secured debt
              1281 9th Avenue #1914                           ($2,500);                                             Unsecured loan repayments
              San Diego, CA 92101                             7/16/23                                               Suppliers or vendors
                                                              ($100); 8/9/23
                                                                                                                    Services
                                                              ($1,600);
                                                              8/11/23                                               Other
                                                              ($3,000);
                                                              8/27/23
                                                              ($1,500);
                                                              8/27/23
                                                              ($1,500)




Official Form 207                      Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 2
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Debtor       Jones & Associates Consulting, Inc.                                                Case number (if known)



      Creditor's Name and Address                                  Dates                  Total amount of value          Reasons for payment or transfer
                                                                                                                         Check all that apply
      3.4.
              SEVA                                                 6/8/23                           $33,160.00                Secured debt
              8924 Tilman Drive                                    ($3,300);                                                  Unsecured loan repayments
              Oklahoma City, OK 73132                              6/10/23                                                    Suppliers or vendors
                                                                   ($3,300);
                                                                                                                              Services
                                                                   7/18/23
                                                                   ($3,000);                                                  Other
                                                                   7/27/23
                                                                   ($2,280);
                                                                   8/9/23
                                                                   ($3,000);
                                                                   8/11/23
                                                                   ($3,000);
                                                                   8/24/23
                                                                   ($5,000);
                                                                   8/31/23
                                                                   ($5,000);
                                                                   9/8/23
                                                                   ($5,280)

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                  Total amount of value          Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                 Amount
                                                                                                                       taken
      LG Funding LLC                                   Used UCC Lien to have Quickbooks                                7/14/23                     $33,200.00
      1218 Union Street                                redirect two client payments (Meals on
      Brooklyn, NY 11225                               Wheels and Dexcom) to itself
                                                       Last 4 digits of account number:


Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 3
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Debtor       Jones & Associates Consulting, Inc.                                               Case number (if known)




          None.

              Case title                              Nature of case              Court or agency's name and               Status of case
              Case number                                                         address
      7.1.    1199 Walnut, LLC v. Jones &             Breach of                   Los Angeles Superior Court                  Pending
              Associates Consulting, Inc.             Rental/Lease                150 W Commonwealth                          On appeal
              23AHVC01546                             Contract                    Avenue
                                                                                                                              Concluded
                                                                                  Alhambra, CA 91801


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address            Description of the gifts or contributions                 Dates given                          Value

      9.1.    Options for All                         Auction purchase (Monetary $2,750);                       10/4/21;
              5050 Murphy Canyon Road                 Donation (Monetary $5,000); Gala                          12/26/21; and,
              San Diego, CA 92123                     Sponsorship (Monetary $10,000)                            5/12/22                       $17,750.00

              Recipients relationship to debtor
              None


      9.2.    Lead San Diego                          Awards Sponsorships (Monetary $5,000
              402 West Broadway                       and $5,000)
              Suite 1000                                                                                        6/29/22 and
              San Diego, CA 92101                                                                               1/12/23                       $10,000.00

              Recipients relationship to debtor
              None


      9.3.    Multi-Cultural Convention               Network Sponsorship (Monetary $1,500)
              Svcs
              6161 El Cajon Boulevard
              Suite 443
              San Diego, CA 92115                                                                               10/14/21                       $1,500.00

              Recipients relationship to debtor
              None


      9.4.    Wassaic Project                         Symposium Sponsorship (Monetary
              P.O. Box 220                            $5,000)
              Wassaic, NY 12592                                                                                 5/3/22                         $5,000.00

              Recipients relationship to debtor
              None




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor        Jones & Associates Consulting, Inc.                                                Case number (if known)



               Recipient's name and address           Description of the gifts or contributions                  Dates given                         Value

      9.5.     Episcopal Community                    Sponsorship (Monetary $5,000); Auction
               Services                               Item (Monetary $5,500)
               401 Mile of Cars Way #350                                                                         7/1/22 and
               National City, CA 91950                                                                           10/11/22                     $10,500.00

               Recipients relationship to debtor
               None


      9.6.     S.D. Black Chamber of                  Gala Sponsorship (Monteary $5,000)
               Commerce
               404 Euclid Avenue
               Suite 383
               San Diego, CA 92114                                                                               10/11/22                      $5,000.00

               Recipients relationship to debtor
               None


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and            Amount of payments received for the loss                   Dates of loss          Value of property
      how the loss occurred                                                                                                                          lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received            If not money, describe any property transferred               Dates               Total amount or
                the transfer?                                                                                                                      value
                Address
      11.1.                                                                                                           8/12/23
                Bravo Law APC                                                                                         ($400);
                2398 San Diego Avenue                                                                                 8/23/23
                San Diego, CA 92110                                                                                   ($4,438)                 $4,838.00

                Email or website address
                bravolawapc.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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Debtor        Jones & Associates Consulting, Inc.                                                Case number (if known)



      Name of trust or device                             Describe any property transferred                    Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     1450 Frazee Road, Suite 104                                                                         10/1/2017-7/31/21
                San Diego, CA 92108

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




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Debtor        Jones & Associates Consulting, Inc.                                                Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

         None
             Financial Institution name and             Last 4 digits of           Type of account or          Date account was                  Last balance
             Address                                    account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred
      18.1.     U.S. Bank                               XXXX-8134                     Checking                 August 2023                                $0.00
                5664 Mission Center Rd                                                Savings
                San Diego, CA 92108
                                                                                      Money Market
                                                                                      Brokerage
                                                                                      Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?


Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.



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Debtor      Jones & Associates Consulting, Inc.                                                 Case number (if known)




           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Cynthia Raimo                                                                                                      2010 to September
                    P.O. Box 337                                                                                                       2023
                    Lemon Grove, CA 91946
      26a.2.        SEVA                                                                                                               March 2020 -
                    8924 Tilman Drive                                                                                                  September 2023
                    Oklahoma City, OK 73132

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None




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Debtor      Jones & Associates Consulting, Inc.                                                 Case number (if known)



      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        SEVA
                    8924 Tilman Drive
                    Oklahoma City, OK 73132
      26c.2.        Cynthia Raimo
                    P.O. Box 337
                    Lemon Grove, CA 91946

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Capytal.com
                    90 Broad Street, Suite 903
                    New York, NY 10004
      26d.2.        Everest Business Funding
                    102 West 38th Street
                    6th Floor
                    New York, NY 10018
      26d.3.        FC Marketplace LLC
                    707 17th Street
                    Suite 2200
                    Denver, CO 80202
      26d.4.        LG Funding LLC
                    1218 Union Street
                    Brooklyn, NY 11225
      26d.5.        OnDeck Funding
                    4700 West Daybreak Parkway
                    Suite 200
                    South Jordan, UT 84009
      26d.6.        U.S. SBA
                    312 North Spring Street
                    5th Floor
                    Los Angeles, CA 90012
      26d.7.        Globelend Capital
                    1111 Park Center Boulevard
                    # 425
                    Miami, FL 33169
      26d.8.        First Service Credit Union
                    16430 Park Ten Place
                    Houston, TX 77084
      26d.9.        Union Bank
                    9275 Sky Park Court, Suite 300
                    San Diego, CA 92123
      26d.10.       First Republic Bank
                    1280 4th Avenue
                    San Diego, CA 92101

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?



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Debtor       Jones & Associates Consulting, Inc.                                               Case number (if known)




           No
           Yes. Give the details about the two most recent inventories.

              Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
              inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Steven Jones                           16921 Via De Santa Fe #5005                         CEO/CFO/Secretary                       100%
                                             Rancho Santa Fe, CA 92067



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

              Name and address of recipient           Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1                                                                                                      6/9/23
      .                                                                                                         ($4,619.24);
                                                                                                                6/24/23
                                                                                                                ($4,619.24);
                                                                                                                7/7/23
                                                                                                                ($4,619.24);
                                                                                                                7/22/23
                                                                                                                ($1,000.00);
                                                                                                                7/27/23
                                                                                                                ($3,619.24);
                                                                                                                8/4/23
                                                                                                                ($4,619.24);
                                                                                                                8/18/23
                                                                                                                ($4,619.24);
                                                                                                                9/1/23
              Steven Jones                                                                                      ($4,619.24);
              16921 Via De Santa Fe #5005                                                                       9/1/23
              Rancho Santa Fe, CA 92067               34,677.28                                                 ($2,309.62)         Salary

              Relationship to debtor
              Owner




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Debtor       Jones & Associates Consulting, Inc.                                                Case number (if known)



              Name and address of recipient            Amount of money or description and value of               Dates             Reason for
                                                       property                                                                    providing the value
      30.2                                                                                                       6/8/23
      .                                                                                                          ($2,707/63);
                                                                                                                 6/9/23
                                                                                                                 ($2,707/63);
                                                                                                                 6/23/23
                                                                                                                 ($2,707.63);
                                                                                                                 7/7/23
                                                                                                                 ($2,707.63);
                                                                                                                 7/21/23
                                                                                                                 ($2,707.63);
                                                                                                                 8/4/23
                                                                                                                 ($2,707.63);
                                                                                                                 8/18/23
              Alvin Jones                                                                                        ($2,707.63);
              1037 Leo Street                                                                                    9/1/23
              Saint Martinville, LA 70582              27,890.51                                                 ($8,937.10)       Salary

              Relationship to debtor
              Brother of 100% owner


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                      Employer Identification number of the parent
                                                                                                       corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                       fund

Part 14:     Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         September 12, 2023

/s/ Steven Jones                                                Steven Jones
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor     Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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Revised: 1/24/13
Name, Address, Telephone No. & I.D. No.
Gustavo E. Bravo
2398 San Diego Avenue
San Diego, CA 92110
(619) 600-1394
218752 CA

              UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF CALIFORNIA
             325 West "F" Street, San Diego, California 92101-6991


In Re
Jones & Associates Consulting, Inc.                                        BANKRUPTCY NO.
Tax I.D. / S.S. #: XX-XXXXXXX
                                                        Debtor.



                                UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF CALIFORNIA
                        RIGHTS AND RESPONSIBILITIES OF CHAPTER 7 DEBTORS
                                      AND THEIR ATTORNEY
In order for debtors and their attorneys to understand their rights and responsibilities in the bankruptcy process,
the following terms of engagement are hereby agreed to by the parties.

Nothing in this agreement should be construed to excuse an attorney from any ethical duties or responsibilities
under Federal Rule of Bankruptcy Procedure 9011 and the Local Bankruptcy Rules.

                                                        I.
                                  Services Included in the Initial Fee Charged
The following are services that an attorney must provide as part of the initial fee charged for representation in a
Chapter 7 case:
1.      Meet with the debtor to review the debtor’s assets, liabilities, income and expenses.
2.      Analyze the debtor’s financial situation, and render advice to the debtor in determining whether to file a
        petition in bankruptcy.
3.      Describe the purpose, benefits, and costs of the Chapters the debtor may file, counsel the debtor
        regarding the advisability of filing either a Chapter 7, 11, or 13 case, and answer the debtor’s questions.
4.      Advise the debtor of the requirement to attend the Section 341(a) Meeting of Creditors, and instruct the
        debtor as to the date, time and place of the meeting.
5.      Advise the debtor of the necessity of maintaining liability, collision and comprehensive insurance on
        vehicles securing loans or leases.
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6.     Timely prepare, file and serve, as required, the debtor's petition, schedules, Statement of Financial
       Affairs, and any necessary amendments to Schedule C.
7.     Provide documents pursuant to the Trustee Guidelines and any other information requested by the
       Chapter 7 Trustee or the Office of the United State Trustee.
8.     Provide an executed copy of the Rights and Responsibilities of Chapter 7 Debtors and their Attorneys to
       the debtor.
9.     Appear and represent the debtor at the Section 341(a) Meeting of Creditors, and any continued meeting,
       except as further set out in Section II.
10.    File the Certificate of Debtor Education if completed by the debtor and provided to the attorney before
       the case is closed.
11.    Attorney shall have a continuing obligation to assist the debtor by returning telephone calls, answering
       questions and reviewing and sending correspondence.
12.    Respond to and defend objections to claim(s) of exemption arising from attorney error(s) in Schedule C.

                                                II.
                      Services Included as Part of Chapter 7 Representation,
                                   Subject to an Additional Fee
The following are services, included as part of the representation of the debtor, but for which the attorney may
charge additional fees.
1.     Representation at any continued meeting of creditors due to client’s failure to appear or failure to
       provide required documents or acceptable identification;
2.     Amendments, except that no fee shall be charged for any amendment to Schedule C that may be
       required as a result of attorney error;
3.     Opposing Motions for Relief from Stay;
4.     Reaffirmation Agreements and hearings on Reaffirmation Agreements;
5.     Redemption Motions and hearings on Redemption Motions;
6.     Preparing, filing, or objecting to Proofs of Claims, when appropriate, and if applicable;
7.     Representation in a Motion to Dismiss or Convert debtor’s case;
8.     Motions to Reinstate or Extend the Automatic Stay;
9.     Negotiations with Chapter 7 Trustee in aid of resolving nonexempt asset, turnover or asset
       administration issues.

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                                             III.
           Additional Services Not Included in the Initial Fee Which Will Require a
                                   Separate Fee Agreement
The following services are not included as part of the representation in a Chapter 7 case, unless the attorney and
debtor negotiate representation in these post-filing matters at mutually agreed upon terms in advance of any
obligation of the attorney to render services. Unless a new fee agreement is negotiated between debtor and
attorney, attorney will not be required to represent the debtor in these matters:
1.     Defense of Complaint to Determine Non-Dischargeability of a Debt or filing Complaint to determine
       Dischargeability of Debt;
2.     Defense of a Complaint objecting to discharge;
3.     Objections to Claim of Exemption, except where an objection arises due to an error on Schedule C;
4.     Sheriff levy releases;
5.     Section 522(f) Lien Avoidance Motions;
6.     Opposing a request for, or appearing at a 2004 examination;
7.     All other Motions or Applications in the case, including to Buy, Sell, or Refinance Real or other
       Property;
8.     Motions or other proceedings to enforce the automatic stay or discharge injunction;
9.     Filing or responding to an appeal;
10.    An audit of the debtor's case conducted by a contract auditor pursuant to 28 U.S.C. Section 586(f).

                                                 IV.
                                Duties and Responsibilities of the Debtor
As the debtor filing for a Chapter 7 bankruptcy, you must:
1.     Fully disclose everything you own, lease, or otherwise believe you have a right or interest in prior to
       filing the case;
2.     List everyone to whom you owe money, including your friends, relatives or someone you want to repay
       after the bankruptcy is filed;
3.     Provide accurate and complete financial information;
4.     Provide all requested information and documentation in a timely manner, in accordance with the
       Chapter 7 Trustee Guidelines;
5.     Cooperate and communicate with your attorney;

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6.       Discuss the objectives of the case with your attorney before you file;
7.       Keep the attorney updated with any changes in contact information, including email address;
8.       Keep the attorney updated on any and all collection activities by any creditor, including lawsuits,
         judgments, garnishments, levies and executions on debtor’s property;
9.       Keep the attorney updated on any changes in the household income and expenses;
10.      Timely file all statutorily required tax returns;
11.      Inform the attorney if there are any pending lawsuits or rights to pursue any lawsuits;
12.      Appear at the Section 341(a) Meeting of Creditors, and any continued Meeting of Creditors;
13.      Bring proof of social security number and government issued photo identification to the Section 341(a)
         Meeting of Creditors;
14.      Provide date-of-filing bank statements to the attorney no later than 7 days after filing of your case;
15.      Pay all required fees prior to the filing of the case;
16.      Promptly pay all required fees in the event post filing fees are incurred;
17.      Debtors must not direct, compel or demand their attorney to take a legal position or oppose a motion in
         violation of any Ethical Rule, any Rule of Professional Conduct, or Federal Rule that is not well
         grounded in fact or law.
Dated:    September 12, 2023                                 /s/ Steven Jones
                                                             Steven Jones
                                                             Debtor

Dated:    September 12, 2023                                 /s/ Gustavo E. Bravo
                                                             Gustavo E. Bravo
                                                             Attorney for Debtor(s)




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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                            Southern District of California
 In re       Jones & Associates Consulting, Inc.                                                              Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     4,838.00
             Prior to the filing of this statement I have received                                        $                     4,838.00
             Balance Due                                                                                  $                         0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]
             Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
             reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
             522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 12, 2023                                                       /s/ Gustavo E. Bravo
     Date                                                                     Gustavo E. Bravo
                                                                              Signature of Attorney
                                                                              Bravo Law APC
                                                                              2398 San Diego Avenue
                                                                              San Diego, CA 92110
                                                                              (619) 600-1394 Fax: (619) 688-1558
                                                                              gbravo@bravolawapc.com
                                                                              Name of law firm
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CSD 1008 [08/21/00]
Name, Address, Telephone No. & I.D. No.
Gustavo E. Bravo
2398 San Diego Avenue
San Diego, CA 92110
(619) 600-1394
218752 CA

                  UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF CALIFORNIA
        325 West "F" Street, San Diego, California 92101-6991


In Re
Jones & Associates Consulting, Inc.
                                                                                        BANKRUPTCY NO.



                                                                       Debtor.

                                                VERIFICATION OF CREDITOR MATRIX

PART I (check and complete one):

    New petition filed. Creditor diskette required.                                                         TOTAL NO. OF CREDITORS: 44

    Conversion filed on               . See instructions on reverse side.
             Former Chapter 13 converting. Creditor diskette required.                                      TOTAL NO. OF CREDITORS:
             Post-petition creditors added. Scannable matrix required.
             There are no post-petition creditors. No matrix required.

    Amendment or Balance of Schedules filed concurrently with this original scannable matrix affecting Schedule of Debts and/or Schedule of
    Equity Security Holders. See instructions on reverse side.
                       Names and addresses are being ADDED.
                       Names and addresses are being DELETED.
                       Names and addresses are being CORRECTED.

PART II (check one):

    The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my (our) knowledge.

    The above-named Debtor(s) hereby verifies that there are no post-petition creditors affected by the filing of the conversion of this case and that
    the filing of a matrix is not required.




Date:    September 12, 2023                                 /s/ Steven Jones
                                                            Steven Jones/Chief Executive Officer
                                                            Signer/Title




                                               REFER TO INSTRUCTIONS ON REVERSE SIDE
CSD 1008
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CSD 1008 (Page 2) [08/21/00]
                                                             INSTRUCTIONS

1)    Full compliance with Special Requirements for Mailing Addresses (CSD 1007) is required.

2)    A creditors matrix with Verification is required whenever the following occurs:

      a)       A new petition is filed. Diskette required.

      b)       A case is converted on or after SEPTEMBER 1, 2000. (See paragraph 4b concerning post-petition creditors.)

      c)       An amendment to a case on or after SEPTEMBER 1, 2000, which adds, deletes or changes creditor address information on the
               debtor's Schedule of Debts and/or Schedule of Equity Security Holders. Scannable matrix format required.

3)    The scannable matrix must be originally typed or printed. It may not be a copy.

4)    CONVERSIONS:

      a)       When converting a Chapter 13 case filed before SEPTEMBER 1, 2000, to another chapter, ALL creditors must be listed on the
               mailing matrix at the time of filing and accompanied by a Verification. Diskette required.

      b)       For Chapter 7, 11, or 12 cases converted on or after SEPTEMBER 1, 2000, only post-petition creditors need be listed on the
               mailing matrix. The matrix and Verification must be filed with the post-petition schedule of debts and/or schedule of equity
               security holders. If there are no post-petition creditors, only the verification form is required. Scannable matrix format required.

5)    AMENDMENTS AND BALANCE OF SCHEDULES:

      a)       Scannable matrix format required.

      b)       The matrix with Verification is a document separate from the amended schedules and may not be used to substitute for any
               portion of the schedules. IT MUST BE SUBMITTED WITH THE AMENDMENT/BALANCE OF SCHEDULES.

      c)       Prepare a separate page for each type of change required: ADDED, DELETED, or CORRECTED. On the REVERSE side of
               each matrix page, indicate which category that particular page belongs in. Creditors falling in the same category should be placed
               on the same page in alphabetical order.

6)    Please refer to CSD 1007 for additional information on how to avoid matrix-related problems.




CSD 1008
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                         1199 Walnut LLCV
                         1199 East Walnut St.
                         Pasadena, CA 91106



                         645 Front St 2201 LLC
                         5580 La Jolla Boulevard
                         Suite 392
                         La Jolla, CA 92037



                         ADP, Inc.
                         1 ADP Boulevard
                         Roseland, NJ 07068



                         American Express
                         200 Vesey Street
                         New York, NY 10285



                         BayFirst National Bank
                         700 Central Avenue
                         Saint Petersburg, FL 33701



                         Brian Joseph
                         1332 Linda Rosa Avenue
                         Los Angeles, CA 90041



                         Bridging Voices
                         4440 Frost Drive
                         Oxnard, CA 93033



                         California Hospital Assoc.
                         1215 K Street #700
                         Sacramento, CA 95814



                         Capital One
                         1680 Capital One Drive
                         Mc Lean, VA 22102
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                     Capytal.com
                     90 Broad Street, Suite 903
                     New York, NY 10004



                     Carnegie Science Center
                     1 Alleghany Avenue
                     Pittsburgh, PA 15212



                     Chanelle McNutt
                     2131 West 109th Place
                     Los Angeles, CA 90047



                     Cynthia Raimo
                     P.O. Box 337
                     Lemon Grove, CA 91946



                     Ellecia Purvis
                     1404 Ramsgate Drive
                     Corona, CA 92881



                     Entergy Texas, Inc.
                     P.O. Box 8104
                     Baton Rouge, LA 70891



                     EQI Mindset
                     2922 Rangour Court
                     Escondido, CA 92027



                     Everest Business Funding
                     102 West 38th Street
                     6th Floor
                     New York, NY 10018



                     FC Marketplace LLC
                     707 17th Street
                     Suite 2200
                     Denver, CO 80202
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                     First Service Credit Union
                     16430 Park Ten Place
                     Houston, TX 77084



                     Food Forward
                     7412 Fulton Avenue #3
                     North Hollywood, CA 91605



                     Globelend Capital
                     1111 Park Center Boulevard
                     # 425
                     Miami, FL 33169



                     Honda Dev. & Mftg. of America
                     24000 Honda Parkway
                     Marysville, OH 43040



                     Internal Revenue Service
                     P.O. Box 7346
                     Philadelphia, PA 19101



                     Kevin Blake
                     605 16th Street
                     Watervliet, NY 12189



                     Lakeshore Learning
                     2695 East Dominguez St.
                     Carson, CA 90895



                     Lewis Brisbois
                     650 E. Hospitality Lane
                     Ste. 600
                     San Bernardino, CA 92408



                     LG Funding LLC
                     1218 Union Street
                     Brooklyn, NY 11225
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                     Lida Rafia
                     3305 29th St.
                     San Diego, CA 92104



                     Lisa Blake
                     605 16th Street
                     Watervliet, NY 12189



                     Liz Fernandez
                     4901 Henry Hudson Parkway
                     Bronx, NY 10471



                     Lori Nelson
                     591 Eaton Drive
                     Pasadena, CA 91107



                     Minjung Pai
                     1534 1/2 S. Spaulding Avenue
                     Los Angeles, CA 90019



                     OnDeck Funding
                     4700 West Daybreak Parkway
                     Suite 200
                     South Jordan, UT 84009



                     Payroll Solutions Internat'l.
                     557 Massey Road
                     Guelph, Ontario, Can. N1K 1B3



                     Ronald McDonald House Charity
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Case 23-02744-CL7   Filed 09/12/23   Entered 09/12/23 16:27:52   Doc 1   Pg. 50 of 50




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